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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

  LYNN STARKEY,                                   )
                                                  )
          Plaintiff,                              )
                                                  )
          v.                                      )
                                                  )       CAUSE NO.: 1:19-cv-03153-RLY-TAB
  ROMAN CATHOLIC ARCHDIOCESE                      )
  OF INDIANAPOLIS, INC. AND                       )
  RONCALLI HIGH SCHOOL, INC.,                     )
                                                  )
          Defendants.                             )


      ORDER GRANTING PLAINTIFF’S MOTION FOR EXTENSION OF TIME TO
        RESPOND TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

          Plaintiff Lynn Starkey, having filed her Motion for Extension of Time to Respond to

  Defendants’ Motion for Summary Judgment or, in the Alternative, Motion for Judgment on the

  Pleadings (“Motion for Summary Judgment”) (Dkt. 117), and the Court, being duly advised,

  now finds that the Motion should be and hereby is granted.

          IT IS ORDERED, ADJUDGED and DECREED that Plaintiff’s deadline to file her

  Response to Defendants’ Motion for Summary Judgment is hereby extended to February 17,

  2021.

          Date: 12/30/2020
                                                      _______________________________
                                                       Tim A. Baker
                                                       United States Magistrate Judge
                                                       Southern District of Indiana




  Distribution to all counsel of record via ECF
